                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                            3:20-CR-00369-RJC-DCK

USA,                                                )
                                                    )
                            Plaintiff,              )
    v.                                              )               ORDER
                                                    )
RENE GARCIA JR (2),                                 )
                                                    )
                            DEFENDANT.              )
                                                    )



         THIS MATTER is before the Court upon motion filed by counsel for the

defendant for a second continuance of the trial based on counsel’s COVID-19

quarantine. (Doc. No. 18).

         In order to protect the defendant’s interest in a speedy trial, the Court finds a

statement of the defendant’s own position on counsel’s requested continuance would

assist the determination under 18 U.S.C. § 3161(h)(7)(A).

         IT IS, THEREFORE, ORDERED that counsel shall file a pleading after

consulting with the defendant stating whether the defendant consents to the

requested continuance. After such pleading is filed, the Court will determine the

merits of the instant motion.

 Signed: January 11, 2021




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